

NHJB, Inc. v Utica First Ins. Co. (2020 NY Slip Op 05317)





NHJB, Inc. v Utica First Ins. Co.


2020 NY Slip Op 05317


Decided on October 2, 2020


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on October 2, 2020
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: CENTRA, J.P., CARNI, LINDLEY, NEMOYER, AND TROUTMAN, JJ.


240 CA 19-00819

[*1]NHJB, INC., DOING BUSINESS AS MOLLY'S PUB, AND NORMAN HABIB, PLAINTIFFS-RESPONDENTS,
vUTICA FIRST INSURANCE COMPANY, DEFENDANT-APPELLANT. (APPEAL NO. 1.) 






FARBER BROCKS &amp; ZANE, LLP, GARDEN CITY (AUDRA ZANE OF COUNSEL), FOR DEFENDANT-APPELLANT. 
LIPPES MATHIAS WEXLER FRIEDMAN LLP, BUFFALO (BRENDAN H. LITTLE OF COUNSEL), FOR PLAINTIFFS-RESPONDENTS. 


	Appeal from an order of the Supreme Court, Erie County (Mark A. Montour, J.), entered March 22, 2019. The order, among other things, granted in part plaintiffs' motion for partial summary judgment and denied defendant's cross motion for summary judgment. 
It is hereby ORDERED that said appeal is unanimously dismissed without costs.
Same memorandum as in NHJB, Inc. v Utica First Ins. Co. ([appeal No. 4] — AD3d — [Oct. 2, 2020] [4th Dept 2020]).
Entered: October 2, 2020
Mark W. Bennett
Clerk of the Court








